          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                    CRIMINAL CASE NO. 1:06cr251-3


UNITED STATES OF AMERICA, )
                          )
                          )
             vs.          )                     ORDER
                          )
                          )
ROBERT DEON HUNTER, JR. )
                          )



      THIS MATTER is before the Court on a handwritten letter from the

Defendant which has been construed as a motion for copies of his

sentencing transcripts, a copy of his docket sheet and verification that a

notice of appeal was filed on his behalf [Doc. 303].

      On December 7, 2007, the Defendant was sentenced to ten years

imprisonment in connection with his conviction for conspiracy to possess

with intent to distribute cocaine base, in violation of 21 U.S.C. §846. [Doc.

186]. His case was appealed; however, on March 27, 2009, the United

States Fourth Circuit Court of Appeals dismissed his appeal. [Doc. 285].

      In response to the letter, the Clerk of Court mailed to the Defendant a

copy of his docket sheet on September 8, 2009. By virtue of this Order,



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the Defendant is advised that his appeal was dismissed. As to the

sentencing transcript, however, although the Defendant was provided

court-appointed counsel for the criminal proceedings, that does not

automatically entitle him to indigency status for purposes of this motion. A

defendant may not obtain transcripts of proceedings in his case unless this

Court "certifies that the suit or appeal is not frivolous and that the transcript

is needed to decide the issue presented by the suit or appeal." 28 U.S.C.

§753(f). As noted, the Defendant’s appeal was dismissed and there is no

suit or other proceeding pending.

      The Defendant also has not shown that his request "is not frivolous

and that the transcript is needed to decide [an] issue presented." Id.

Federal inmates are not entitled to transcripts at Government expense for

collateral attacks on their convictions absent some showing of a

particularized need. United States v. MacCollom, 426 U.S. 317, 326-27,

96 S.Ct. 2086, 48 L.Ed.2d 38 (1976); United States v. Hamlett, 128

Fed.Appx. 320, 321 (4th Cir. 2005). "[A]n indigent is not entitled to a

transcript at government expense without a showing of need, merely to

comb the record in the hope of discovering some flaw." Jones v.

Superintendent, Virginia State Farm, 460 F.2d 150, 152 (4th Cir. 1972),

quoting United States v. Glass, 317 F.2d 200, 202 (4th Cir. 1963); accord



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United States v. Parker, 273 Fed.Appx. 243 (4th Cir. 2008).

      IT IS, THEREFORE, ORDERED that the Defendant’s handwritten

letter which has been construed as a motion for copies of his sentencing

transcripts, a copy of his docket sheet and verification that a notice of

appeal was filed on his behalf [Doc. 303] is hereby DENIED.

                                       Signed: October 6, 2009




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